 8:10-cr-00303-RFR-MDN             Doc # 45    Filed: 10/21/10   Page 1 of 1 - Page ID # 97




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )                    8:10CR303
       vs.                                     )
                                               )                      ORDER
MARK LINDSAY,                                  )
                                               )
                      Defendant.               )


       This matter is before the court on the defendant's Motion to Extend Time to File
Pretrial Motions [41]. Upon review of the file, the court finds that a 5-day extension should
be granted to allow the defendant to join the motions to sever filed by co-defendants.

      IT IS ORDERED that the Motion to Extend Time to File Pretrial Motions [41] is
granted, in part, as follows:

        1. The deadline for filing pretrial motions is extended to October 26, 2010 for the
filing of a severance motion.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between October 21, 2010 and October 26, 2010, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       3. A party may object to a magistrate judge's order by filing an "Objection to
Magistrate Judge's Order" within 14 days after being served with the order. The objecting
party must comply with all requirements of NECrimR 59.2.

       DATED this 21st day of October, 2010.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
